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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA,           )
            Plaintiff               )
                                    )
v.                                  )                          No.: 21-mj-07174-JBC
                                    )
AVTAR SINGH DHILLON,                )
            Defendant.              )
____________________________________)

ASSENTED TO MOTION TO MODIFY THE DEFENDANT’S CONDITIONS OF RELEASE


          Defendant Avtar Singh Dhillon (“Defendant”), by and through his undersigned attorney,

respectfully moves that the Court modify his release conditions to remove electronic monitoring,

allow him to travel throughout the State of California without prior notice to the Probation

Office, and outside of California, but within the United States, with prior notice to the Probation

Office.     As grounds therefore, the Defendant states as follows:

          1. The Defendant surrendered his passport, posted a $1.5 million bond secured by real

             estate, and is currently subject to electronic monitoring via a GPS bracelet. He has

             abided by all conditions of supervision since his release.

          2. The Defendant requests that electronic monitoring be removed so that he can more

             easily work in his businesses located in California and participate in swim and other

             therapies needed by his young daughter. The government is aware of his daughter’s

             condition and the needed therapy. If directed by the Court, the Defendant will move

             to make a sealed submission regarding the condition and therapy.
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          3. The Defendant also requests that he be allowed to travel outside California, but within

             the United States, for business commitments around the United States, to meet with

             counsel, and appear in Court as required.

          4. Counsel for the Government, Assistant U.S. Attorney James R. Drabick, has assented

             to the requested relief. The United States Probation Office also assents to this

             Motion.

          WHEREFORE, for the reasons stated herein, the Defendant respectfully requests that the

Court grant this motion and modify the conditions of his release to remove electronic

monitoring, allow travel within California without prior notice to the Probation Office, and

allow travel outside California, but within the United States, with prior notice to the Probation

Office.

Dated: February 8, 2022                        Respectfully submitted,

                                               AVTAR SINGH DHILLON

                                               By his attorney,



                                               /s/ George W. Vien
                                               George W. Vien, BBO #547411
                                               DONNELLY, CONROY & GELHAAR, LLP
                                               260 Franklin Street, Suite 1600
                                               Boston, MA 02110
                                               gwv@dcglaw.com
                                               (617) 720-2880
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above document filed through the ECF system will
be sent electronically by the ECF system to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be send to those indicated as non-registered
participants on this 8th day of February 2022.



                                             /s/ George W. Vien
